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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

 UNITED STATES OF AMERICA                                                           PLAINTIFF(S)

 V.                                  CASE NO. 4:17-cr-00293-BSM

 MARCUS O. MILLSAP                                                               DEFENDANT(S)


   RESPONSE TO UNITED STATES’ MOTION FOR ORDER FOR ISSUANCE OF
  SUBPOENA PURSUANT TO FEDERAL RULE OF CRIMINAL PROCEDURE 17(c)


       Comes now the Defendant, Marcus O. Millsap, by and through his attorneys, Lassiter &

Cassinelli, and for his Response to the Government’s Motion for Order for Issuance of Subpoena

Pursuant to Federal Rule of Criminal Procedure 17(c), states as follows:

       1.      The Government requests that this Court issue an Order directing the Clerk’s office

to issue a subpoena to Sharon Carr for any and all records, information, and correspondence,

including text messages and emails, identifying any asset of Marcus O. Millsap, including any

assets held in trust for the benefit of Marcus O. Millsap, his spouse Kristin Millsap, his dependents,

or his children, and any asset with a value in excess of $1,000 transferred from Marcus O. Millsap

to any other individual, trust, or company since February 5, 2019.

       2.      The subpoena sought by the Government’s Motion is invalid to the extent that it

seeks to compel the production of confidential communications protected by the attorney-client

privilege.
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       3.       Sharon Carr is Defendant’s attorney-in-fact. Attached hereto and incorporated

herein as Exhibit 1 is a General Power of Attorney executed by Defendant in favor of Ms. Carr on

September 22, 2010.

       4.      “[A]ttorney-client privilege extends to the necessary intermediaries and agents

through whom the communications are made." United States v. Salamanca, 244 F. Supp. 2d 1023,

1025-26 (D.S.D. 2003). “Disclosure to a party who is necessary for the transmission of the

attorney-client communication or those to whom disclosure furthers the rendition of legal services

does not destroy or waive the attorney-client privilege.” In re Royce Homes, LP, 449 B.R. 709,

742 (Bankr. S.D. Tex. 2011) (citing 3 WEINSTEIN’S FEDERAL EVIDENCE § 503.15[1] (2010)). See

also Restat 3d of the Law Governing Lawyers, § 70 cmt. f (“A person is a confidential agent for

communication if the person's participation is reasonably necessary to facilitate the client's

communication with a lawyer or another privileged person and if the client reasonably believes

that the person will hold the communication in confidence.”).

       5.      This concept is similarly embodied by Ark. R. Evid. 502(b), which states that “[a]

client has a privilege to refuse to disclose and to prevent any other person from disclosing

confidential communications made for the purpose of facilitating the rendition of professional

legal services to the client (1) between himself or his representative and his lawyer or his

lawyer’s representative, (2) between his lawyer and the lawyer’s representative, (3) by him or

his representative or his lawyer or a representative of the lawyer to a lawyer or a representative of

a lawyer representing another party in a pending action and concerning a matter of common

interest therein, (4) between representatives of the client or between the client and a

representative of the client, or (5) among lawyers and their representatives representing the same

client.” (Emphasis Supplied).


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       6.      The breadth of the Government’s proposed subpoena intrudes upon confidential

communications between Defendant and his agent, and between Defendant’s agent and his

attorneys, that were necessary and could not have been made by the client alone. Consequently,

the Government’s Motion should be denied and its proposed subpoena quashed, or alternatively,

the scope of its proposed subpoena should be modified to exclude confidential communications

protected by the attorney-client privilege. In such event, the Court should conduct in camera

review of potentially privileged documents.

       7.      Defendant further objects to the proposed subpoena on the grounds that it does not

include the referenced attachment. See Doc. # 2575-1.

       WHEREFORE, Defendant Marcus O. Millsap respectfully requests that the Government’s

Motion for Order for Issuance of Subpoena Pursuant to Federal Rule of Criminal Procedure 17(c)

be denied, and for all other proper relief to which he may be entitled.

                                          RESPECTFULLY SUBMITTED,

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